  Case 15-07701        Doc 53    Filed 02/06/19 Entered 02/06/19 16:19:10         Desc Main
                                   Document     Page 1 of 2


                          UNITED STATES BANKRUPTCY COURT
                           NORTHERN DISTRICT OF ILLINOIS
                                  EASTERN DIVISION

 In Re:                                          Case No. 15-07701

 Ricardo Fajardo
                                                 Chapter 13

 Debtor.                                         Hon. Judge Timothy A. Barnes

                   NOTICE OF MODIFICATION OF AUTOMATIC STAY

VIA ELECTRONIC NOTICE:

          David H. Cutler
          Cutler & Associates, Ltd.
          4131 Main St.
          Skokie, IL 60076

          Marilyn O Marshall
          224 South Michigan, Suite 800
          Chicago, IL 60604

VIA U.S. MAIL:

          Ricardo Fajardo
          4143 W 56th Street
          Chicago, IL 60629

PLEASE TAKE NOTICE that the Debtor has failed to comply with the provisions set forth in
the Order of this Honorable Court dated November 6, 2018, and hereto attached. In accordance
with said Order, US Bank Trust National Association, as Trustee of SCIG Series III Trust mailed
notification of non-compliance to all required parties on January 16, 2019. The Debtor did not
cure the default within the time specified in said Notice.

THEREFORE, the automatic stay has been modified and Bankruptcy Rule 4001(a)(3) waived,
as to US Bank Trust National Association, as Trustee of SCIG Series III Trust, its successors
  Case 15-07701       Doc 53     Filed 02/06/19 Entered 02/06/19 16:19:10           Desc Main
                                   Document     Page 2 of 2


and/or assigns, as to a certain mortgage upon real estate, with a common address of 4143 W 56th
ST, CHICAGO, IL 60629.

 Dated: February 6, 2019                          Respectfully Submitted,

                                                  /s/ Jon J. Lieberman
                                                  Jon J. Lieberman (OH 0058394)
                                                  Sottile & Barile, Attorneys at Law
                                                  P.O. Box 476
                                                  Loveland, OH 45140
                                                  Phone: 513.444.4100
                                                  Email: bankruptcy@sottileandbarile.com
                                                  Attorney for Movant

                                CERTIFICATE OF SERVICE

The undersigned, an attorney, hereby certifies that I have served a copy of this Notice along with
the attached Notice upon the above-named parties by electronic filing or, as noted above, by
placing same in a properly addressed and sealed envelope, postage prepaid, and depositing it in the
United States Mail at 394 Wards Corner Rd., Suite 180, Loveland, OH 45140 on February 6,
2019, before the hour of 5:00 p.m.

                                                  /s/ Jon J. Lieberman
                                                  Jon J. Lieberman (OH 0058394)
                                                  Attorney for Movant
